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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:                                                   Case No. 20-61065 (PWB)

THE KRYSTAL COMPANY, et al.,1                            Chapter 11

                                                         (Joint Administration Requested.

                   Debtors.

             NOTICE OF APPEARANCE AND REQUEST FOR ELECTRONI
              NOTICE FOR UNITED STATES GOVERNMENT ATTORNEY
                           HANNAH LEAH URICCHIO

         PLEASE TAKE NOTICE that the Pension Benefit Guaranty Corporation ("PBGC"), an

agency of the United States Government and a creditor in the above-captioned case, hereby files

this notice of appearance pursuant to Rule 9010(b) of the Federal Rules of Bankruptcy Procedure

(the "Bankruptcy Rules") for attorney Hannah Leah Uricchio, and requests, pursuant to Section

1109(b) of Title 11, United States Code and Bankruptcy Rules 2002(j)(4), 3017(d) and 9007, that

notice of all matters which may come before the Court concerning the above-captioned case and

debtors be given to and served upon PBGC as listed below.

         As an attorney representing an agency of the United States Government, Ms. Uricchio is

eligible to appear pursuant to Local Rule 83.4(c) of the United States District Court for the

Southern District of Georgia. PBGC certifies that they have read and are familiar with the local

rules.

         This request includes, inter alia, the notices and papers referred to in Bankruptcy Rules

2002, 3017 (including all disclosure statements and plans of reorganization) and 9007, notices of

1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: The 'Crystal Company (4140); 'Crystal Holdings, Inc. (5381); and K-Square Acquisition Co., LLC
(8916). The location of the Debtors' corporate headquarters and service address is: 1455 Lincoln Parkway, Suite
600, Dunwoody, Georgia 30346.
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any orders, applications, complaints, demands, hearings, motions, petitions, pleadings or

requests, and any other documents brought before this Court in these cases, whether formal or

informal, ex parte or on notice, written or oral, or transmitted or conveyed by mail, electronic

mail, personal delivery, telephone, facsimile, or otherwise.

       PLEASE TAKE FURTHER NOTICE that this entry of appearance and request for notice

is without prejudice to PBGC's rights, remedies and claims against other entities or any

objection that may be made to the jurisdiction or venue of the Court or venue of these cases, and

shall not be deemed or construed to be a waiver of PBGCs rights: (i) to have final orders and

non-core matters entered only after de novo review by a district court, (ii) to trial by jury in any

proceedings so triable in these cases or in any controversy or proceeding related to these cases,

(iii) to have the district court withdraw the reference in any matter subject to mandatory or

discretionary withdrawal, or (iv) to assert any other rights, claims, actions, defenses, setoffs or

recoupments to which PBGC is or may be entitled in law or in equity, all of which PBGC

expressly reserves.

DATED: January 27, 2020                               Respectfully submitted,
      Washington, D.C.
                                                      /s/ Hannah Leah Uricchio
LOCAL COUNSEL:                                        HANNAH LEAH URICCHIO
                                                      Attorney
BYUNG J. PAK                                          PENSION BENEFIT GUARANTY
United States Attorney                                CORPORATION
                                                      Office of the General Counsel
/s/ Andres H. SandovaV                                1200 K Street, N.W.
Assistant United States Attorney                      Washington, D.C. 20005-4026
Georgia Bar No. 643257                                Tel.: (202) 229-6252
United States Attorney's Office                       Fax: (202) 326-4112
Northern District of Georgia                          Emails: uricchio.hannah@pbgc.gov and
75 Ted Turner Drive, S.W., Suite 600                           efile@pbgc.gov
Atlanta, GA 30303
Tel.: (404) 581-6096
Email: ancires.sandoval@usdoj.gov



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                     IN THE UNITED STATES BANKRUPTCY COURT
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THE KRYSTAL COMPANY, et al.,                      Chapter 11



                  Debtors.

                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 2,3'rd day of January, 2020, the Notice of Appearance

and Request for Electronic Notice for United States Government Attorney Hannah

Leah Uricchio was served on all parties registered to receive notice on the Court's ECF

system for this case.
                                                    /s/ Hannah Leah Uricchio
                                                    Hannah Leah Uricchio
